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COMMONWEALTH OF MASSACHUSETTS
SUFFOLK, SS SUPERIOR COURT DEPARTMENT
CIVIL ACTION NO.: d054 eV aq 60
)
TAN PHAM. )
. SUPERIOR
Plaintiff ) op eu CLERK'S oFrice URr
) FILED
v. DEC 28 2020
THE NATIONAL RAILROAD PASSENGER ) DH DONOVAN
CORPORATION, D/B/A AMTRAK, ) MICHAEL JOSE oe COURT
Defendant — ) -
)

 

COMPLAINT AND JURY DEMAND

 

Plaintiff, Tan Pham, is a resident of Revere, Suffolk County, Commonwealth
of Massachusetts.

Defendant, The National Railroad Passenger Corporation, d/b/a Amtrak is a
corporation with regular business contacts in the Commonwealth of
Massachusetts and has a regular place of business at One South Station,
Second Floor, Boston, Suffolk County, Commonwealth of Massachusetts.

On or about December 1, 2019, the Plaintiff Tan Pham was a lawful passenger
on an Amtrak train traveling from Richmond, Virginia to Boston
Massachusetts (hereinafter “the Amtrak train’’).

The Plaintiff was riding in a quiet car, as we her usual practice, during this
travel.

During the course of travel, other passengers in the quiet car were disruptive
and loud, which is not permitted in the quiet car.

No conductor came through the quiet car to check on the passengers and/or
ensure no commotion or disturbance was occurring, causing the Plaintiff to
leave the quiet car in search of a conductor.

While in the vestibule that connects to the café car (hereinafter “the
vestibule”), the Plaintiff slipped and fell on water leaking into the vestibule
despite her grip on the side rails, causing the Plaintiff severe injuries.
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Immediately after her fall, the Plaintiff observed water leaking into the
vestibule and gathering on the floor from outside rain.

The Plaintiff pulled herself up and made her way to the café car in the Amtrak
train where she discovered two conductors and reported her slip and fall to
them, noting the leaking vestibule and pooling water.

Upon information and belief, this area in the vestibule of the Amtrak train was
a known hazard to the Defendant as the Defendant knew and/or should have
known that the vestibule was leaking water onto the floor.

There were no signs or warnings of the slippery hazard in the vestibule of the
Amtrak train.

As a direct and proximate result of the Defendant’s negligence in permitting
the vestibule to be maintained in such a manner and failing to warn of slippery

conditions, the Plaintiff sustained severe injury due to the slip and fall.

The Defendant was at all times relevant charged with a duty to maintain the
vestibule and the Amtrak train in a fashion to be safe for passengers.

COUNT I. NEGLIGENCE

 

Plaintiff Tan Pham herein realleges and restates Paragraphs 1-13 as if stated
herein.

The Defendant did so negligently maintain the vestibule and the Amtrak train
that the Plaintiff, a lawful passenger, was caused to slip and fall on a known
slippery hazard.

The Defendant did so negligently fail to warn passengers on the Amtrak train
of the slippery hazard in the vestibule that the Plaintiff, a lawful passenger, was
caused to slip and fall on a known slippery hazard.

As a direct and proximate result of the negligence of the Defendant the
Plaintiff was seriously and permanently injured, has incurred medical expenses
in the treatment of said injuries, has suffered great pain of body and mind,
suffered loss of wages/earning capacity and was and will be obliged to expend
monies for medical care and treatment.
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WHEREFORE, the Plaintiff Tan Pham demands judgment against the Defendant

for damages and costs and other relief that this Honorable Court deems just.

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COUNT I. GROSS NEGLIGENCE

 

Plaintiff Tan Pham herein realleges and restates Paragraphs 1- 17 as if stated
herein.

The Defendant willfully, wantonly, and/or recklessly, or through its negligence
and/or gross negligénce, permitted conditions to exist in the vestibule and on the
Amtrak train that caused the Plaintiff to slip and fall on a negligently
maintained vestibule and negligently permitted leak.

The Defendant willfully, wantonly, and/or recklessly, or through negligence
and/or gross negligence, failed to warn passengers of the slippery hazardous
conditions in the vestibule and on the Amtrak train that caused the Plaintiff to
slip and fall on a negligently maintained vestibule and negligently permitted
leak.

As a direct and proximate result of the gross negligence of the Defendant, the
Plaintiff was seriously and permanently injured, has incurred medical expenses
in the treatment of said injuries, has suffered great pain of body and mind,
suffered a loss of wages and/or earning capacity and was and will be obliged to
expend monies for medical care and treatment.

WHEREFORE, the Plaintiff demands judgment against the Defendant for

damages and costs and other relief that this Honorable Court deems just.

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COUNT Il. BREACH OF CONTRACT

 

Plaintiff Tan Pham herein realleges and restates Paragraphs 1- 21 as if stated
herein.

The Defendant had a duty pursuant to an express or implied contract with the
Plaintiff by which the Defendant would maintain the vestibule and the Amtrak
train in a manner safe and suitable for use by passengers.

The Defendant breached its contract by permitting the vestibule and/or the
Amtrak train to become unsafe for use by passengers, such as the Plaintiff.
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25. Asadirect and proximate result of the breach of the Defendant, the Plaintiff
was seriously and permanently injured, has incurred medical expenses in the
treatment of said injuries, has suffered great pain of body and mind, suffered
loss of earning capacity and was and will be obliged to expend monies for
medical care and treatment.

WHEREFORE the Plaintiff demands judgment against the Defendant for

damages and costs and other relief that this Honorable Court deems just.

THE PLAINTIFF DEMANDS A TRIAL BY JURY
OF ALL ISSUES SO TRIABLE

Respectfully submitted,
For the Plaintiff,

Tan Pham

By her attorney,

LAW OFFICES OF
WILLIAM T. KENNEDY, P.C.
Attorneys at Law

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